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13                                  UNITED STATES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN FRANCISCO DIVISION

16   NATIONAL TPS ALLIANCE, et. al.,
                                                     Case No. 3:25-cv-1766-EMC
17                          Plaintiff,
           v.
18                                                   DEFENDANTS’ NOTICE OF FILING
     KRISTI NOEM, in her official capacity as
19   Secretary of Homeland Security, et. al.,        Judge: Hon. Edward M. Chen
                                                     Date: July 7, 2025
20                            Defendants.

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In accordance with this Court’s order, ECF No. 237, Defendants file the attached declarations.

Dated: July 7, 2025                                 Respectfully submitted,

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